USCA4 Appeal: 23-1235   Doc: 20        Filed: 07/28/2023    Pg: 1 of 32




                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT


                                            No. 23-1235


        RANDY RICHARDSON

                         Plaintiff - Appellant,

                                       v.

        PRINCE GEORGE’S COUNTY, MARYLAND, ANGELA ALSOBROOKS AND
        MELINDA BOLLING,

                         Defendant – Appellees.



                           Appeal from the United States District Court
                                   For the District of Maryland
                                        Greenbelt Division

                                   BRIEF OF APPELLEES

        RHONDA L. WEAVER
        COUNTY ATTORNEY

        Shelley L. Johnson, Fed. No. 15853                 Jordan D. Howlette
        Prince George’s County Office of Law               JD Howlette Law
        1301 McCormick Drive, Suite 4100                   1140 3rd Street, NE
        Largo, Maryland 20774                              Washington, D.C. 20002
        (301) 952-5225                                     (202) 921-6005
        sljohnson@co.pg.md.us                              jordan@jdhowlettelaw.com
        Counsel for Defendants-Appellees                   Counsel for Plaintiff-Appellant


        Filed: July 28, 2023
USCA4 Appeal: 23-1235   Doc: 20
                             7    Filed:
                                   Filed:03/13/2023
                                          07/28/2023   Pg:
                                                        Pg:12ofof232
USCA4 Appeal: 23-1235   Doc: 20
                             7    Filed:
                                   Filed:03/13/2023
                                          07/28/2023   Pg:
                                                        Pg:23ofof232
USCA4 Appeal: 23-1235               Doc: 20                Filed: 07/28/2023                Pg: 4 of 32




                                                          TABLE OF CONTENTS

        Table of Citations ............................................................................................................... iii

        INTRODUCTION ............................................................................................................... 2

        STATEMENT OF THE CASE ........................................................................................... 3

        I.        FACTUAL BACKGROUND .................................................................................. 3

        II.       PROCEDURAL HISTORY ..................................................................................... 6

        III.      SUMMARY OF ARGUMENT ................................................................................ 7

        IV.       STANDARD OF REVIEW ...................................................................................... 9

        V.        ARGUMENT ......................................................................................................... 10

                  A.        DISTRICT COURT CORRECTLY GRANTED APPELLEES-
                            DEFENDANTS MOTION FOR JUDGMENT ON THE PLEADINGS ... 10

                            i.        Appellant did not suffer an injury-in-fact ........................................ 13

                            ii.       Applying for Use and Occupancy Permit was not an exercise
                                      in futility ........................................................................................... 14

                            iii.      Mr. Richardson failed to assert sufficient allegations of the
                                      imposition of an unjust barrier ......................................................... 15

                            iv.       Mr. Richardson failed to assert sufficient allegations
                                      demonstrating that he was able or ready to apply for a
                                      use and occupancy permit ................................................................ 17

                  B.        THE DISTRICT COURT DID NOT ABUSE ITS DISCRETION
                            IN RULING ON A TIMELY FILED MOTION FOR JUDGMENT
                            ON THE PLEADINGS ............................................................................... 17

                            i.        To deny a timely filed Rule 12(c) motion because discovery
                                      was conducted defeats the purpose of the rule ................................. 17

                            ii.       Cases cited by Richardson in support are distinguishable ............... 19
USCA4 Appeal: 23-1235               Doc: 20                Filed: 07/28/2023               Pg: 5 of 32




                            iii.      Mr. Richardson’s frustration with Iverson Mall’s renovation
                                      progress does not equal unjust barrier .............................................. 22

        IV.       Conclusion .............................................................................................................. 23

        Certification of Compliance .............................................................................................. 24

        Certificate of Service ......................................................................................................... 25




                                                                          ii
USCA4 Appeal: 23-1235             Doc: 20              Filed: 07/28/2023             Pg: 6 of 32




                                                   TABLE OF CITATIONS

        Cases

        AM General LLC v. Demmer Corp., 2013 WL 5348484 (N.D. Ind.
        Sept. 23, 2013) ......................................................................................................... 20

        Arizonans for Official English v. Arizona, 520 U.S. 43, 68 n.22, 117 S.Ct. 1055,
        137 L.Ed.2d 170 (1997) ........................................................................................... 11

        Beck, 848 F.3d at 271 ............................................................................................... 12

        Butler v. United States, 702 F.3d. 749, 751-752 (4th Cir. 2012) ........................... 9,17

        Clapper v. Amnesty Int’l USA, 568 U.S. 398, 408, 133 S.Ct. 1138, 1147-48,
        185 L.Ed.2d 264 (2013) ........................................................................................... 12

        Cooksey v. Futrell, 721 F.3d 226, 240 (4th Cir. 2013) ............................................ 11

        Drager v. PLIVA USA, Inc., 741 F.3d. 470, 474 (4th. Cir. 2014) ................................ 9

        Edwards v. City of Goldsboro, 178 F.3d 231, 244 (4th Cir. 1999) ....................... 9,21

        Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167,
        120 S.Ct. 693, 145 L.Ed.2d 610 (2000) ............................................................. 10-11

        Ginsburg v. InBev NV/SA, 623 F.3d 1229 (8th Cir. 2010) ....................................... 19

        Ideal Steel Supply Corp. v. Anza, 652 F.3d 310 (2nd Cir. 2011) .............................. 19

        Language Doctors, Inc. v. MCM 8201 Corporate, LLC, 2021 WL 71890,
        n. 5 (D. Md. Feb. 24, 2021) ..................................................................................... 18

        Lujan v. Defenders of Wildlife, 504 U.S. 555, 560, 562 (1993) ........................ 12-13

        Nat’l Ass’n for the Advancement of Colored People v. Bureau of the Census,
        PWG-18-891, 2019 WL 355743, at *8 (D. Md. Jan 19, 2019) ............................... 11

        Pender v. Bank of Am. Corp., 788 F.3d 354, 368 (4th Cir. 2015) ........................... 10


                                                                    iii
USCA4 Appeal: 23-1235             Doc: 20               Filed: 07/28/2023             Pg: 7 of 32




        Perez v. Oak Grove Cinemas, Inc., 2014 WL 1796674 (D.Or. May 5, 2014) ........ 19

        Scoggins v. Lee’s Crossing Homeowners Ass’n, 718 F.3d 262, 269
        (4th Cir. 2013) .......................................................................................................... 11

        South Carolina, 912 F.3d at 726 .............................................................................. 12

        Spokeo, Inc. v. Robins, 578 U.S. 330, 337, 136 S.Ct. 1540, 1547 (2016) .....10,12,20

        Steel Co. v. Citizens for Better Env’t, 523 U.S. 83 U.S. 83, 103 (1998) ................. 12

        Stevens v. Showalter, 458B.R. 852 (D. Md. 2011) .................................................. 20

        Va. Soc’y for Human Life, Inc. v. FEC, 263 F.3d 379, 389 (4th Cir. 2001)............ 11

        Warth v. Seldin, 422 U.S. 490, 498, 518 (1975) ...................................................... 10

        Whitmore v. Arkansas, 495 U.S. 149, 155, 110 S.Ct. 1717, 109
        L.Ed.2d 135 (1990) .................................................................................................. 13

        Williams v. Ozmint, 716 F.3d 801, 808-809 (4th Cir. 2013) ................................... 10



        Rules, Statutes and Code

        ERWIN CHEMERINKSKY, FEDERAL JURISDICTION § 2.4 (4th ed. 2003) ............................ 11
        Federal Rules of Civil Procedure 12(b)(1) .............................................................. 10
        Federal Rules of Civil Procedure 12(b)(6) .............................................................. 19
        Federal Rules of Civil Procedure 12(c) ..................................................................... passim




                                                                     iv
USCA4 Appeal: 23-1235    Doc: 20          Filed: 07/28/2023     Pg: 8 of 32




                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT


                                               No. 23-1235


        RANDY RICHARDSON

                          Plaintiff - Appellant,

                                          v.

        PRINCE GEORGE’S COUNTY, MARYLAND, ANGELA ALSOBROOKS AND
        MELINDA BOLLING,

                          Defendant – Appellees.



                               Appeal from the United States District Court
                                       For the District of Maryland
                                            Greenbelt Division

                                      BRIEF OF APPELLEES

        RHONDA L. WEAVER
        COUNTY ATTORNEY

        Shelley L. Johnson, Fed. No. 15853
        Deputy County Attorney
        Prince George’s County Office of Law
        1301 McCormick Drive, Suite 4100
        Largo, Maryland 20774
        (301) 952-3932
        sljohnson@co.pg.md.us

        Counsel for Defendant-Appellees

        Filed: July 28, 2023
                                                    1
USCA4 Appeal: 23-1235     Doc: 20        Filed: 07/28/2023    Pg: 9 of 32




                                         INTRODUCTION

              This suit arose from Appellant-Plaintiff Randy Richardson’s desire to open an

        after-hours club in the lower level of Iverson Mall (“the mall”) located in Temple

        Hills, Maryland. To provide context to the case, Iverson Mall was constructed in

        the 1960s and is one of the oldest malls continuously operating in the County. For

        a number of years, the County and Iverson Mall have been involved in a number of

        enforcement actions involving various County Code violations, including deficient

        fire suppression system, that raised safety concerns, which resulted in the loss of its

        use and occupancy (U&O) permit.          Because the mall serves what has been

        categorized by the County as an underserved community, closing the mall would

        have a significant negative impact to the surrounding community. Thus, the County

        and Iverson Mall began working together to address the various code violations and

        developed a timeline for renovations. Unfortunately, efforts to timely renovate the

        mall were frustrated by a number of factors, including the COVID-19 pandemic, that

        resulted in a County-wide shut down, bankruptcy of the owner of the mall, and sale

        of the mall.

              In the midst of these efforts, Mr. Richardson entered into lease agreement with

        the owner of the mall, before he filed for bankruptcy, with the intent to open a

        nightclub with a 1000-person capacity in the lower level of the mall. His leased

        space had one entrance and exit that exited under a crumbling parking garage. The


                                                  2
USCA4 Appeal: 23-1235     Doc: 20        Filed: 07/28/2023   Pg: 10 of 32




        previous tenants of the leased spaced moved out after the determined that they could

        not afford to make the improvements required by the County.

              This is not a case of small business owners being held to a different standard

        than large business owners or the County stifling small minority businesses. This

        case demonstrates the importance of research and planning and what Lee Iacocca

        once said “every business and every product has risks. You can’t get around it.”

                                     STATEMENT OF THE CASE

              I.     FACTUAL BACKGROUND

              The lawsuit filed by Randy Richardson arose from the conversion of leased

        space previously used as a church to an after-hours nightclub and the various Prince

        George’s County Code violations associated with the leased space.                  Mr.

        Richardson’s Complaint alleges that since 2014, Prince George’s County’s

        Department of Permitting, Inspection and Enforcement (“DPIE”) engaged in

        discriminatory practices by depriving businesses of property interest at Iverson Mall.

        J.A. 008. Specifically, Mr. Richardson alleges DPIE refused to grant certain

        businesses use and occupancy permits due to these businesses lacking sufficient

        political influence. J.A. 008.

              In January of 2020, Mr. Richardson signed a lease for a location inside Iverson

        Mall. J.A. 011. The property is located at 3701 Branch Avenue, Suite 1000, Temple

        Hills, Maryland (hereafter “Branch Avenue Property”). J.A. 011. The Branch


                                                  3
USCA4 Appeal: 23-1235    Doc: 20        Filed: 07/28/2023   Pg: 11 of 32




        Avenue Property was previously occupied by a church and was zoned for

        commercial use. J.A. 011-012.

              Mr. Richardson negotiated the lease with JBG SMITH Properties (hereafter

        “JBG”), the property management company for Iverson Mall. J.A. 011. At the time

        the lease was negotiated, Mr. Richardson did not know Iverson Mall lacked a use

        and occupancy permit. J.A. 011. Further, JBG did not inform Mr. Richardson that

        Iverson Mall lacked a use and occupancy permit. J.A. 011. On January 22, 2020,

        Mr. Richardson filed a request to have his liquor license transferred to the Branch

        Avenue Property. J.A. 013. The request was granted. J.A. 013. On January 27,

        2020, Mr. Richardson learned Iverson Mall lacked a use and occupancy permit after

        meeting with DPIE. J.A. 013. DPIE allegedly informed Mr. Richardson the permit

        issued with Iverson Mall would be resolved. J.A. 013. Mr. Richardson then applied

        for non-load bearing wall permit. J.A. 013.

              On February 11, 2020, Plaintiff met with DPIE representatives. J.A. 013. The

        DPIE representatives informed Mr. Richardson that he could apply for permits to

        open his business, but DPIE would first have to resolve Iverson Mall’s use and

        occupancy permit before his business could obtain its own use and occupancy

        permit. J.A. 013. Mr. Richardson alleges the DPIE representatives declined to

        provide information regarding the issues surrounding Iverson Mall’s use and

        occupancy permit or why other businesses were allowed to open and operate in


                                                 4
USCA4 Appeal: 23-1235     Doc: 20         Filed: 07/28/2023   Pg: 12 of 32




        Iverson Mall. J.A. 014. On April 17, 2020, DPIE issued Mr. Richardson electrical

        permits for the Branch Avenue Property. J.A. 014.

              Between April of 2020 and February of 2021, Mr. Richardson repeatedly

        contacted DPIE to learn when he could apply for a use and occupancy permit but

        was repeatedly told that DPIE first had to resolve the permit issue with Iverson Mall.

        J.A. 014. On February 24, 2021, Mr. Richardson filed for a second permit for non-

        load bearing wall after being told DPIE lost the application from January 2020. J.A.

        015. On March 2, 2021, Director Bolling, Director of DPIE, sent Mr. Richardson

        an email inviting him to a meeting to discuss potential long-term solutions. J.A. 016.

        On May 3, 2021, Mr. Richardson met with Prince George’s County Council Chair

        Calvin Hawkins II at the leased space to discuss the issues he was experiencing, and

        Council Chair Hawkins told him that he would raise the issues with the County

        Executive Angela Alsobrooks in an attempt to resolve the matter. J.A. 016.

              Mr. Richardson alleges DPIE began targeting his business by conducting

        inspections and issuing code violations on February 26, 2021, May 21, 2021, and

        September 2021.     J.A. 014-015.      DPIE levied $9,500 worth of fines against

        Plaintiff’s business. J.A. 017.

              In September of 2021, a representative from the County Executive’s Office

        allegedly contacted the Mr. Richardson to apologize for DPIE’s “targeted”

        enforcement. J.A. 018. Following this conversation, inspections by DPIE ceased.


                                                   5
USCA4 Appeal: 23-1235     Doc: 20        Filed: 07/28/2023    Pg: 13 of 32




        J.A. 018. In October of 2020, officials with the County Executive’s Office allegedly

        ordered DPIE and the Fire Department to remove corrective orders for the Plaintiff’s

        business. J.A. 018.

              II.    PROCEDURAL HISTORY

              Mr. Richardson files suit in the United States District Court for the District of

        Maryland on March 1, 2022. J.A. 02. Subsequently, counsel for Defendants filed

        their Notices of Appearances on March 24, 2022, and March 30, 2022, respectively.

        J.A. 02.    On April 4, 2022, counsel for Prince George’s County, Maryland

        (“County”) and the individually named County Defendants filed correspondence

        with the Court pursuant to the Court’s Case Management Order requesting

        permission to file a preliminary motion (i.e., motion for judgment on the pleadings).

        J.A. 03. On May 24, 2022, a telephone conference was held with the court and

        permission was granted to file a motion for judgment on the pleadings. J.A. 03.

        Subsequently, the County and the individually named County Defendants filed their

        motion for judgment on the pleadings on July 26, 2022. J.A. 04, 054-0072. On

        August 9, 2022, Mr. Richardson filed his response in opposition thereto. J.A. 04,

        073-085. On August 26, 2022, Defendants filed their reply to Mr. Richardson’s

        response in opposition thereto. J.A. 04, 086-093. On January 31, 2023, the court

        issued its memorandum opinion granting Defendants’ motion for judgment on the

        pleadings. Plaintiff appealed that order. J.A. 4, 095-103.

                                                  6
USCA4 Appeal: 23-1235    Doc: 20        Filed: 07/28/2023   Pg: 14 of 32




              III.   SUMMARY OF ARGUMENT

              The District Court did not err when it granted the Appellee-Defendant’s

        timely motion for judgment on the pleadings. Mr. Richardson would have the court

        believe that he and another minority business owner were the only minority business

        owners that leased space in Iverson Mall. This contention is not accurate and

        contradicted by the businesses identified in the Iverson Mall site plans. J.A. 035-

        036. The site plans clearly demonstrate that not every business owner at Iverson

        Mall would be categorized as a large business owner.         Thus, the premise of

        Appellant-Plaintiff’s argument is flawed on its face based on the documents attached

        to his complaint, which the District Court correctly considered in rendering its

        Memorandum Opinion.

              As to the standing issue and Mr. Richardson’s damages claim that the District

        Court found to be too speculative, Mr. Richardson admits that he did not apply for a

        use and occupancy permit but claims that efforts to obtain would have been futile.

        Thus, the fact that he never applied for a U&O permit should not preclude him from

        prosecuting his case. As alleged by Mr. Richardson in his Complaint, he met with

        DPIE representatives on more than one occasion and received permits to conduct

        specific work at the lease site. J.A. 013-014. He also asserts that he received an

        invitation from DPIE Director Melinda Bolling to meet and discuss “potential long-

        term solutions.” J.A. 016.     Thus, being told that your U&O permit approval is


                                                 7
USCA4 Appeal: 23-1235     Doc: 20       Filed: 07/28/2023    Pg: 15 of 32




        contingent upon Iverson Mall resolving permitting issues does not constitute futility

        but merely a delay.

              Mr. Richardson contends that the District Court erred when it granted the

        motion for judgment because he is not required to allege that he applied for the

        permit if doing so would have been futile. Clearly Mr. Richardson overlooked the

        District Court’s finding that County officials invited him to a meeting to explore

        long-term solutions. J.A. 016. The fact that Mr. Richardson asserted factual

        allegations that the District Court was required to accept as true defeated his own

        argument on futility demonstrates the purpose of Rule 12(c), which is to test the

        sufficiency of the complaint. Also, Mr. Richardson’s allegations that he met with

        various DPIE officials, County Executive officials and the Chair of the County

        Council regarding his permitting issue defeats his unjust barrier argument because

        these allegations clearly show that his small business status did not create any

        barriers.

              Finally, Mr. Richardson contends that the District Court erred when it granted

        the motion for judgment on the pleadings without permitting him to present evidence

        developed during discovery. First, to permit the introduction of evidence not

        referenced or cited in the complaint would convert a motion for judgment on the

        pleadings to a summary judgment and nullify Rule 12(c). As stated previously

        herein, a motion filed pursuant to Rule 12(c) is limited to the Complaint and any


                                                  8
USCA4 Appeal: 23-1235     Doc: 20        Filed: 07/28/2023    Pg: 16 of 32




        documents attached or referenced in the Complaint. The fact that Mr. Richardson

        voluntarily elected to engage in discovery and expended considerable financial

        resources should be of no consequence to this Court. Mr. Richardson could have

        filed a motion to stay the proceedings until the District Court ruled on the motion for

        judgment on the pleadings, but he elected not to do so at his own peril.

              In addition, the cases cited by Mr. Richardson in support of his contentions

        are factually and procedural distinguishable and provide this Court with no guidance

        as to the issues presented. None of the cases cited are presented with the issue of

        standing in a motion for judgment on the pleadings. And none of the cases were in

        the same procedural posture as the present case.

              For these reasons, the District Court’s memorandum opinion must be

        affirmed.

              IV.    STANDARD OF REVIEW

              The Fourth Circuit Court of Appeals reviews de novo a district court’s ruling

        on the motion for judgment on the pleadings. Drager v. PLIVA USA, Inc., 741 F.3d.

        470, 474 (4th. Cir. 2014) citing Butler v. United States, 702 F.3d. 749, 751 (4th Cir.

        2012). The standard of review for a motion filed pursuant to Federal Rule 12(c) is

        the same as that for a Rule 12(b)(6) motion. Id. at 751-752. Thus, a motion for

        judgment on the pleadings “should only be granted if, after accepting all well-

        pleaded allegations in the plaintiff’s complaint as true and drawing all reasonable


                                                  9
USCA4 Appeal: 23-1235     Doc: 20        Filed: 07/28/2023     Pg: 17 of 32




        factual inferences from those facts in plaintiff’s favor, it appears certain that the

        plaintiff cannot prove any set of facts in support of his claim entitled him to relief.”

        Drager, 741 F.3d at 474; (citing Edwards v. City of Goldsboro, 178 F.3d 231, 244

        (4th Cir. 1999)). A motion filed pursuant to Rule 12(c) test the sufficiency of the

        complaint but does not resolve the merits of the plaintiff’s claims or any disputes of

        fact. Butler, 702 F.3d at 751.

              V.     ARGUMENT

                     A. DISTRICT COURT CORRECTLY GRANTED APPELLEES-
                        DEFENDANTS MOTION FOR JUDGMENT ON THE
                        PLEADINGS.

              Standing is a threshold issue. “[W]hether the plaintiff has made out a ‘case or

        controversy’ between himself and the defendant . . . is the threshold question in every

        federal case, determining the power of the court to entertain the suit.” Warth v.

        Seldin, 422 U.S. 490, 498 (1975). A motion to dismiss for lack of Article III standing

        is evaluated under Federal Rules of Civil Procedure 12(b)(1). Plaintiff must show

        that he: “(1) suffered injury in fact, (2) that is fairly traceable to the challenged

        conduct of the defendant, (3) that is likely to be redressed by a favorable judicial

        decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 337, 136 S.Ct. 1540, 1547 (2016).

        “[A]t the pleading stage, the plaintiff must ‘clearly . . . allege facts demonstrating’

        each element.” Id. (quoting Warth v. Seldin, 422 U.S. 490, 518 (1975)).




                                                  10
USCA4 Appeal: 23-1235     Doc: 20         Filed: 07/28/2023    Pg: 18 of 32




              Moreover, “the case-or-controversy requirement applies to all stages of a

        federal case” Williams v. Ozmint, 716 F.3d 801, 808-809 (4th Cir. 2013). Thus, "[i]f

        a live case or controversy ceases to exist after a suit has been filed, the case will be

        deemed moot.” Pender v. Bank of Am. Corp., 788 F.3d 354, 368 (4th Cir. 2015).

        “The doctrine of mootness can be described as ‘the doctrine of standing set in a time

        frame: the requisite personal interest that must exist at the commencement of the

        litigation (standing) must continue throughout its existence (mootness).” Friends of

        the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 120 S.Ct. 693,

        145 L.Ed.2d 610 (2000) (quoting Arizonans for Official English v. Arizona, 520 U.S.

        43, 68 n.22, 117 S.Ct. 1055, 137 L.Ed.2d 170 (1997)).

              In addition to standing, the “constraint of Article III” also includes the

        principle of ripeness, which “presents a ‘threshold question [] of justiciability.’”

        Scoggins v. Lee’s Crossing Homeowners Ass’n, 718 F.3d 262, 269 (4th Cir. 2013)

        (citation omitted). See Nat’l Ass’n for the Advancement of Colored People v. Bureau

        of the Census, PWG-18-891, 2019 WL 355743, at *8 (D. Md. Jan 19, 2019)

        (“NAACP”) (describing standing and ripeness as “overlapping facets” of subject

        matter jurisdiction). Whereas standing focuses on who can sue, ripeness “‘concerns

        the appropriate timing of judicial intervention.’” Cooksey v. Futrell, 721 F.3d 226,

        240 (4th Cir. 2013) (quoting Va. Soc’y for Human Life, Inc. v. FEC, 263 F.3d 379,




                                                  11
USCA4 Appeal: 23-1235       Doc: 20          Filed: 07/28/2023      Pg: 19 of 32




        389 (4th Cir. 2001)); see NAACP, 2019 WL 355743, at *8 (noting that standing

        addresses who may sue, and ripeness addresses when a party may sue).1

                Here, the District Court correctly found Mr. Richardson lacked standing after

        all well-pleading facts as true and drawing all reasonable inferenced therefrom in

        Mr. Richardson’s favor. Specifically, the District Court found that not only did Mr.

        Richardson fail to apply for a U&O permit but he also failed to avail himself to the

        invitation extended by Director of DPIE to meet and develop a long-term solution

        to his problem. J.A. 016, 102. Also, Mr. Richardson failed to avail himself to the

        administrative procedures available to him to contest his perceived grievance with

        DPIE.

                To establish Article III standing, Mr. Richardson must have, first and

        foremost, suffered an injury-in-fact. Steel Co. v. Citizens for Better Env’t, 523 U.S.

        83 U.S. 83, 103 (1998) (an injury-in-fact is the “[f]irst and foremost” of standing’s

        three elements). To demonstrate an injury-in-fact, Mr. Richardson must have

        suffered “‘an invasion of a legally protected interest’ that is ‘concrete and

        particularized’ and ‘actual or imminent, not conjectural or hypothetical.’” Spokeo,

        Inc. v. Robins, 578 U.S. 330, 136 S. Ct. 1540, 1548 (2016)) (quoting Lujan v.



        1
         As constitutional law scholar Erwin Chemerinsky explained, “Although the phrasing makes the
        questions of who may sue and when they sue seem distinct, in practice there is an obvious overlap
        between the doctrines of standing and ripeness.” ERWIN CHEMERINKSKY, FEDERAL JURISDICTION
        § 2.4 (4th ed. 2003).

                                                       12
USCA4 Appeal: 23-1235     Doc: 20         Filed: 07/28/2023    Pg: 20 of 32




        Defenders of Wildlife, 504 U.S. 555, 560 (1993)). Alternatively, a threatened injury

        can satisfy Article III standing, although “not all threatened injuries constitute an

        injury-in-fact.” Beck, 848 F.3d at 271; see South Carolina, 912 F.3d at 726.

        “Threatened injury must be certainly impending to constitute injury in fact.”

        Clapper v. Amnesty Int’l USA, 568 U.S. 398, 408, 133 S.Ct. 1138, 1147-48, 185

        L.Ed.2d 264 (2013). A plaintiff cannot rely on an “attenuated chain of inferences”

        nor “on speculation” to claim injury. Id.; (quoting Lujan, 504 U.S. at 562). “The

        complainant must allege an injury to himself that is distinct and palpable, as opposed

        to merely abstract.” Whitmore v. Arkansas, 495 U.S. 149, 155, 110 S.Ct. 1717, 109

        L.Ed.2d 135 (1990).

                            i.      Appellant did not suffer an injury-in-fact.

              To satisfy the injury-in-fact element of standing, “plaintiff must have suffered

        an injury in fact, which is an invasion of a legally protected interest which is concrete

        and particularized and actual or imminent rather than conjectural or hypothetical;

        that there be a causal connection between the injury and conduct complained of so

        that the injury is fairly traceable to the challenged action of the defendant and not

        the result of the independent action of some third party who is not before the court;

        and that it be likely, as opposed to merely speculative, that injury will be redressed

        by a favorable decision.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 112 S. Ct. 2130,

        119 L. Ed. 2d 351 (1992).


                                                   13
USCA4 Appeal: 23-1235       Doc: 20      Filed: 07/28/2023    Pg: 21 of 32




               Here, Mr. Richardson was unable to articulate any concrete, particularized,

        and actual injury he suffered because 1) he never applied for the U&O permit; or 2)

        met with County officials to develop a long-term solution. Thus, there is no

        indication that Mr. Richardson would not be issued a U&O permit in the future when

        the Iverson Mall code violations were resolved. In response, Mr. Richardson agrees

        to apply for a U&O permit would have been a futile exercise; thus, his failure to

        apply for permit must be excused and the court should allow his claims proceed in

        litigation.

                      ii.    Applying for Use and Occupancy Permit was not an exercise in
                             futility.

               In his brief, Mr. Richardson contends that he is not required to show that

        applying for a U&O permit would have been futile to establish standing; but only

        that he was denied equal treatment resulting from the imposition on of unjust barrier.

        App. Brief at p. 23. Analysis under either doctrine results in the same conclusion

        that Mr. Richardson failed to satisfy the injury-in-fact element for standing and the

        District Court correctly granted Appellee’s motion for judgment.

               First, as argued in the motion for judgment and found the by the District Court,

        the fact that Iverson Mall’s code violations, which are not the responsibility of the

        County, in a timeframe convenient for Mr. Richardson, does not render his efforts

        to obtain a U&O permit futile. J.A. 091, 101-103. As noted by the District Court,


                                                  14
USCA4 Appeal: 23-1235       Doc: 20      Filed: 07/28/2023   Pg: 22 of 32




        the County invited Mr. Richardson to a meeting to discuss a long-term solution,

        which he declined. J.A. 016, 102. DPIE representatives did not tell him not to apply

        for a permit or that one would not be issued. J.A. 014. On the contrary, DPIE

        representatives told him that he could apply for the permit and based on the

        allegations asserted, DPIE representatives were responsive to his requests and were

        working to find a solution. J.A. 014-016. The problem arose when the renovations

        to Iverson Mall to cure the code violations were not being completed in a timeframe

        convenient to Mr. Richardson. Thus, Mr. Richardson believes that a permit delayed

        is a permit denied, which is not legal standard to satisfy the futility doctrine to

        overcome injury-in-fact element of standing.

                     iii.    Mr. Richardson failed to assert sufficient allegations of the
                             imposition of an unjust barrier.

              Assuming arguendo, Mr. Richardson is not obligated to show futility but only

        that he was denied equal treatment resulting from the imposition of an unjust barrier,

        again the facts as asserted by Mr. Richardson in the Complaint fail to satisfy the

        pleading standard for standing. Accepting as true the allegations asserted in the

        complaint and all reasonable inferences therefrom, the court must find that Mr.

        Richardson actually received more access to County officials than any other tenant,

        large or small. Mr. Richardson not only met and/or spoke with DPIE representatives

        on at least three separate occasions, he also had a meeting with the Chair of the

        County Council, the Deputy Chief Administrative Officer, and the County
                                                 15
USCA4 Appeal: 23-1235     Doc: 20        Filed: 07/28/2023   Pg: 23 of 32




        Executive’s Chief of Staff. J.A. 016-019. Obviously, not everyone is granted

        meetings with the County Executive’s Chief of Staff, the Deputy Chief

        Administrative Officer, and the Chair of the County Council to discuss permitting

        issues. It is not even alleged that any large business had similar meetings. A

        reasonable inference from Mr. Richardson’s well-pleaded facts leads to only one

        conclusion that Mr. Richardson has absolutely no problem competing with big or

        small businesses in Prince George’s County, Maryland. More importantly, the

        Complaint is void of any allegations that Mr. Richardson was denied the opportunity

        to file for a permit, discuss the permitting issue with DPIE representatives or County

        Executive officials.

              Moreover, the Complaint is void of any allegations that large businesses had

        an easier path to the issuance of a U&O permit than Mr. Richardson. Setting aside

        all conclusory statements in the Complaint, there are no factual assertions in the

        Complaint that any large business experienced an easier path to obtaining a U&O

        permit than Mr. Richardson. The fact that a large store opened for business before

        he opened for business means nothing on its own. There are no factual assertions of

        when the large businesses leased space from Iverson Mall, how much money each

        business invested in the renovations of the leased space, efforts the large business

        expended to bring the leased space up to County Code standards, or that they were

        relieved of the requirements to meet the County Code requirements. Again, the


                                                 16
USCA4 Appeal: 23-1235      Doc: 20       Filed: 07/28/2023    Pg: 24 of 32




        District Court, like this Court, is left to speculate as to what the “large businesses”

        did to obtain use and occupancy permits.

                     iv.    Mr. Richardson failed to assert sufficient allegations
                            demonstrating that he was able or ready to apply for a use and
                            occupancy permit.

              There are no allegations asserted in the Complaint that Mr. Richardson was

        able and ready to apply for a U&O permit. On the contrary, the Complaint asserted

        allegations that Mr. Richardson was cited by the County and received corrections

        orders for failure to have a fire alarm sprinkler report, a valid electrical permit,

        mechanical permit, WSSC permit, and sprinkler permits. J.A. 015. Nowhere in the

        Complaint is it alleged that Mr. Richardson’s leased space in Iverson Mall met all

        County Code requirements to open Mr. Richardson’s business, which was Town

        Hall Live, an after-hours club. Thus, Mr. Richardson’s assertion that he was able

        and ready to file for a U&O permit is nothing more than his hope and dreams.

                     B. THE DISTRICT COURT DID NOT ABUSE ITS DISCRETION IN
                        RULING ON A TIMELY FILED MOTION FOR JUDGMENT ON
                        THE PLEADINGS.

                     i.     To deny a timely filed Rule 12(c) motion because discovery was
                            conducted defeats the purpose of the rule.

              Mr. Richardson contends that the District Court abused its discretion when it

        ruled on the County’s timely filed motion for judgment on pleadings after Plaintiff

        had completed substantial discovery. Mr. Richardson contends that the discovery

        conducted relates to the issue of futility, and he should have been afforded the

                                                  17
USCA4 Appeal: 23-1235     Doc: 20       Filed: 07/28/2023    Pg: 25 of 32




        opportunity to present such evidence to the Court. First, to permit Mr. Richardson

        to introduce evidence not referenced in the Complaint to defeat a timely and properly

        filed motion for judgment on the pleadings renders Rule 12(c) null and void. As

        stated, a motion for judgment on the pleadings tests the sufficiency of the pleading,

        and not the merits of the case. Butler, 702 F.3d at 751. In the time that the motion

        was pending before the Court, Mr. Richardson could have moved to amend his

        Complaint to address any deficiencies that were identified by the County’s motion

        and discovered during the six months of discovery the parties conduct, which may

        have rendered the County’s motion for judgment on the pleadings moot. Mr.

        Richardson elected not to do so at his own peril.

              In support Richardson relies on Language Doctors, Inc. v. MCM 8201

        Corporate, LLC, 2021 WL 71890, n. 5 (D. Md. Feb. 24, 2021) for the proposition

        that “A Rule 12(c) motion seeks a remedy that is available and appropriate only in

        certain circumstances – namely, to “dispose of cases in which there is no substantive

        dispute that warrants the litigants and the court proceeding further.” However,

        Language Doctors, Inc. is procedurally and factually distinguishable from the

        present case and should be disregarded. In Language Doctors, Inc., Language

        Doctors (“LTD”) filed a declaratory action against MCM 8201 Corporate, LLC

        (“MCM”) seeking the court’s ruling on the termination date of an office lease

        agreement. Id. MCM filed a motion or judgment on the pleadings and the court


                                                 18
USCA4 Appeal: 23-1235      Doc: 20         Filed: 07/28/2023   Pg: 26 of 32




        permitted LTD to file an amended complaint adding two causes of action before

        ruling on the MCM’s motion. Id. MCM’s motion for judgment on the pleadings

        only addressed the declaratory action in Count I. Id.

              Unlike the present case, the granting of MCM’s motion or judgment on the

        pleadings would not have “disposed of cases in which there is no substantive dispute

        that warrants the litigants and the court proceeding further.” Id. The Court’s

        allowance of LTD’s amended complaint adding two additional claims that would

        not be resolved by the court’s ruling of the determination of the termination date

        rendered MCM’s motion essential moot. In the present case, the County’s motion

        for judgment on the pleadings did dispose of the entire case and the issue before the

        court is standing, which threshold issue that must be addressed and resolved before

        reaching the merits of the case.

                     ii.       Cases cited by Richardson in support are distinguishable.

              The other cases relied upon by Mr. Richardson are factually and procedurally

        distinguishable from the present case. None of the cases cited by Mr. Richardson

        involve the issue of standing, are within the Fourth Circuit or were at this procedural

        stage in litigation.    See Ideal Steel Supply Corp. v. Anza, 652 F.3d 310 (2nd Cir.

        2011)(litigation of the parties extended several years asserting various violations of

        the Racketeer Influence and Corrupt Organizations Act (RICO) and was initially

        dismissed pursuant to a Rule 12(b)(6) motion for failure to sufficiently plead

                                                    19
USCA4 Appeal: 23-1235     Doc: 20         Filed: 07/28/2023    Pg: 27 of 32




        causation); Ginsburg v. InBev NV/SA, 623 F.3d 1229 (8th Cir. 2010) (the Eighth

        Circuit affirmed the grant of a judgment on the pleadings finding the plaintiffs, who

        were beer consumers and indirect purchasers because they did not buy the beer

        directly from the breweries, could not sue for damages under the Clayton Act and

        could receive an equitable remedy, which would only result in extensive discovery

        and unsuccessful trial); Perez v. Oak Grove Cinemas, Inc., 2014 WL 1796674

        (D.Or. May 5, 2014)(the district court denied the judgment on the pleadings because

        it was filed after an extensive record had been generated by the parties and found

        sufficient allegations demonstrating violations of the Fair Labor Standards Act

        (FLSA)); AM General LLC v. Demmer Corp., 2013 WL 5348484 (N.D. Ind. Sept.

        23, 2013)( the district court denied a partial motion for judgment on the pleadings

        because many of the arguments raised in the motion were more appropriate in a

        summary judgment motion and the disputed facts took the motion beyond the

        parameters of a Rule 12(c) motion); and Stevens v. Showalter, 458B.R. 852 (D. Md.

        2011)(the district court affirmed the denial of a motion to dismiss that challenged

        the sufficiency of the complaint filed after the filing of an answer and after a trial on

        the merits.)

               Here, the County filed the motion for judgment on the pleading before

        discovery was completed or substantially completed and the issue before the court

        is a jurisdictional issue that must be met at every stage of litigation. The County

                                                   20
USCA4 Appeal: 23-1235     Doc: 20        Filed: 07/28/2023    Pg: 28 of 32




        should not be forced to continue to expend considerable time, effort and expenses

        defending a matter that is not ripe for judicial review, which is Rule 12(c)’s intended

        purpose. Id.

              And more importantly in the present case, standing is a jurisdictional question

        that must be resolved before this Court can address the merits of Mr. Richardson’s

        claims.   At the pleading stage, Mr. Richardson must “clearly alleging facts

        demonstrating each element of Article III standing. Spokeo v. Inc. v. Robins, 578

        U.S. 330, 136 SCt. 1540, 194 L.Ed.2d 635 (2016). Here, the District Court, “after

        accepting all well-pleaded allegations in [Mr. Richardson]’s favor, it appeared

        certain that he cannot prove any set of facts in support of his claim entitling him to

        relief.” Edwards v. City of Goldsboro, 178 F.3d 231, 244 (4th Cir. 1999). In support

        of the District Court’s finding that Mr. Richardson’s alleged injury-in-fact was too

        speculative, the District Court cited Mr. Richardson’s well-pleaded allegation that

        he received an invitation for the Director of DPIE to a meeting to find a long-term

        solution to this permitting issues. (J.A. 016, 102.) A meeting that Mr. Richardson

        declined to attend. (J.A. 016.) Mr. Richardson also pleaded that he attended

        meetings with County Executive Office officials and County Council members and

        all of which stated that they would work on finding a solution. (J.A. 016.) Clearly,

        being a small business owner in the County did not impose any barrier to Mr.

        Richardson as he was able to have meetings with senior County officials and the

                                                  21
USCA4 Appeal: 23-1235       Doc: 20      Filed: 07/28/2023     Pg: 29 of 32




        Chair of the County Council, all which were responsive to his plight and sought to

        aide him in in quest to obtain a U&O permit.         Thus, the District Court correctly

        found that Mr. Richardson’s claims are not ripe for judicial decision because based

        on the well-pleaded allegations, Mr. Richardson had not filed an application, had not

        met with the Director of DPIE to work on a long-term solution, and had meetings

        with several senior County officials up until January 2022. Therefore, the District

        Court was left to speculate as what might have been resolved if such a meeting had

        taken place or if County officials were provided more time to resolve Mr.

        Richardson’s permitting issues before he filed suit less than three months later.

                     iii.    Mr. Richardson’s frustration with Iverson Mall’s renovation
                             progress does not equal unjust barrier.

              It must be noted that Mr. Richardson filed his Complaint on March 1, 2022,

        less than three months from the last meeting with County officials. Clearly, the issue

        before this Court is not one of an imposition of an unjust barrier because Mr.

        Richardson is a small-business owner, but his inability to open his business on his

        projected open date. This does not equate to an unjust barrier imposed on Mr.

        Richardson by the County. And quite simply, his frustration is misplaced because

        the County’s responsibility to inspect is only invoked after the work is completed.

        Thus, Mr. Richardson’s frustration is more appropriately directed to the owner of

        Iverson Mall that induced him to sign the lease agreement and not the County.



                                                 22
USCA4 Appeal: 23-1235    Doc: 20        Filed: 07/28/2023   Pg: 30 of 32




              VI.   CONCLUSION

              For all of the reasons cited above, Appellee-Defendant Prince George’s

        County, Maryland, respectfully requests that this Court affirm the District Court’s

        granting of the County’s Motion for Judgment on the Pleadings finding that

        Appellant-Plaintiff Randy Richardson’s claims are too speculative for Article III

        purposes. Accordingly, the holding of the District Court should be affirmed.




                                              Respectfully submitted,

                                              RHONDA L. WEAVER
                                              COUNTY ATTORNEY

                                              Shelley L. Johnson
                                              Shelley L. Johnson, Fed. No. 15853
                                              Andrew J. Murray, Fed. No. 10511
                                              Prince George’s County Office of Law
                                              1301 McCormick Drive, Suite 4100
                                              Largo, Maryland 20774
                                              (301) 952-5225
                                              sljohnson@co.pg.md.us




                                                23
USCA4 Appeal: 23-1235      Doc: 20        Filed: 07/28/2023     Pg: 31 of 32




                                 CERTIFICATE OF COMPLIANCE


              I hereby certify that this brief complies with the type-volume, typeface, and type-

        style requirements of Federal Rule of Appellate Procedure 32(a). This brief contains 5,101

        words, excluding the parts of the document exempted by Rule 32(f) and was prepared in

        14-point Times New Roman font, a proportionally spaced typeface, using Microsoft Word.




                                                 Shelley L. Johnson
                                                 Shelley L. Johnson, Fed. No. 15853




                                                   24
USCA4 Appeal: 23-1235      Doc: 20        Filed: 07/28/2023     Pg: 32 of 32




                                     CERTIFICATE OF SERVICE


              I hereby certify that on July 28, 2023, I electronically filed the foregoing Brief of

        Appellees with the Clerk of the Court for the U.S. Court of Appeals for the Fourth Circuit

        by using the appellate CM/ECF system. Participants in the case are registered CM/ECF

        users and service will be accomplished by the appellate CM/ECF system.




                                                 Shelley L. Johnson
                                                 Shelley L. Johnson, Fed. No. 15853




                                                   25
